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 3                                 UNITED STATES DISTRICT COURT
 4                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 6    RALPH COLEMAN, et al.,                               No. 2:90-cv-0520 KJM DB P
 7                       Plaintiffs,
 8            v.                                           ORDER
 9    EDMUND G. BROWN, JR., et al.,
10                       Defendants.
11

12          On June 28, 2022, the Special Master filed a Report and Recommendation Regarding the

13   California Department of Corrections and Rehabilitation’s Proposal for Assuming the Annual

14   Suicide Monitoring Report. ECF No. 7574 (“Report”). The Report was not circulated to the

15   parties for review and comment prior to its filing and is therefore subject to the thirty day

16   objection period approved by the court on July 29, 2019, ECF No. 6230. See ECF No. 7592. On

17   July 25, 2022, the court adopted in full the California Department of Corrections and

18   Rehabilitation Annual Suicide Report Proposal appended to the Report, subject to the provisional

19   approval process outlined in the proposal, and signaled the Report would be adopted on or after

20   July 28, 2022, at the end of the thirty day objection period. The thirty day objection period has

21   now expired and neither party has filed objections to the Report.

22          After review, and good cause appearing, IT IS HEREBY ORDERED that the Special

23   Master’s June 28, 2022 Report Regarding the California Department of Corrections and

24   Rehabilitation’s Proposal for Assuming the Annual Suicide Monitoring Report, ECF No. 7574, is

25   adopted in full.

26   DATED: August 2, 2022.
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